 4:05-cr-03034-RGK-DLP         Doc # 23     Filed: 06/03/05    Page 1 of 1 - Page ID # 27




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            4:05CR3034-2
                                             )
              Plaintiff,                     )
                                             )
vs.                                          )            ORDER
                                             )
ALEJANDRO RAMIREZ,                           )
                                             )
              Defendant.                     )

       IT IS ORDERED that:

       (1)    The defendant’s motion to continue trial (filing 22) is granted;

        (2)   Trial of this case before the undersigned United States district judge is
continued to 9:00 a.m., Monday, July 18, 2005, in Lincoln, Nebraska. Since this is a criminal
case, the defendant shall be present unless excused by the court.

      (3)    The time between today’s date and the new trial date is excluded under the
Speedy Trial Act and in the interest of justice. See 18 U.S.C. § 3161(h)(1)(I)& (h)(8)(A)(B).

       DATED this 3rd day of June, 2005.

                                                  BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
